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                IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                   )
                                            )
           Plaintiff,                       )    Civil No. 20-cv-1377
                                            )
           v.                               )
                                            )
JANE DOE,                                   )
as the executor of the estate of            )
MARC RATZERSDORFER                          )
                                            )
           Defendant.                       )
                                            )

                                     COMPLAINT
      Plaintiff, the United States of America, at the request and with the

authorization of a delegate of the Secretary of the Treasury, and at the direction of

the Attorney General of the United States, brings this action to collect the civil

penalties assessed against Defendant Marc Ratzersdorfer under 31 U.S.C.

§ 5321(a)(5)(C)(i) for his willful failure to report his interests in foreign bank

accounts for the 2007, 2008, and 2009 calendar years. In support of this action, the

United States alleges as follows:

                                Jurisdiction and Venue

      1.        This Court has jurisdiction over this action under 28 U.S.C. §§ 1331,

1345, and 1355(a) because it arises under a federal statute, the United States is a




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plaintiff, and the action seeks to recover civil penalties assessed under 31 U.S.C.

§ 5321(a)(5).

         2.    Venue is proper in this district under 28 U.S.C. § 1391(c)(3) as the

defendant is deceased and was not a resident of the United States at the time of his

death.

                                        Parties

         3.    Plaintiff is the United States of America.

         4.    Marc Ratzersdorfer was the person against whom the IRS assessed

penalties due to his willful failure to file FBARS for the 2007, 2008, and 2009

calendar years. Ratzersdorfer died on or about December 8, 2017. Neither the

Ratzersdorfer’s family nor his prior Power of Attorney, Abraham Weiss, notified

the IRS of Mr. Ratzersdorfer’s death. On information and belief, no probate estate

has yet been opened for Ratzersdorfer. Upon the opening of the estate, the United

States intends to amend the complaint to name the administrator or executor of the

estate as the real party in interest.

                                Regulatory Background

         5.    Section 5314 of Title 31, United States Code, authorizes the Secretary

of the Treasury to require United States citizens (among others) to report certain

transactions with foreign financial agencies. Under one of the statute’s

implementing regulations (31 C.F.R. § 1010.350), each United States person


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having a financial interest in, or signature or other authority over, a bank,

securities, or other financial account with a balance of $10,000 or more in a foreign

country shall report such relationship to the Internal Revenue Service (“IRS”) for

each year in which such relationship exists.

      6.     For calendar years 2012 and prior, a person met this reporting

requirement by filing a Form TD F 90-22.1, Report of Foreign Bank and Financial

Accounts, commonly known as an “FBAR.”

      7.     For the years at issue, an FBAR was due no later than June 30 of the

year following the calendar year at issue with respect to foreign financial accounts

that had an aggregate value greater than $10,000. 31 C.F.R. § 1010.306(c).

      8.     Section 5321(a)(5) of Title 31, United States Code, authorizes the

imposition of civil penalties for the willful failure to comply with the reporting

requirements of § 5314. Specifically, § 5321(a)(5)(C) provides for a maximum

willfulness penalty in the amount of the greater of $100,000 or 50% of the balance

in the accounts at the time of the violation.

      9.     The penalty provided by 31 U.S.C. § 5321(a)(5)(C) is subject to

interest and further penalties under 31 U.S.C. § 3717.

   MARC RATZERSDORFER WILLFULLY FAILED TO REPORT HIS
         INTEREST IN FOREIGN FINANCIAL ACCOUNTS

      10.    Ratzersdorfer was born in the United States and remained a United

States citizen until his death.

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      11.    On information and belief, Ratzersdorfer founded a diamond trading

business in the United States that served as the source of his offshore funds.

      12.    In or before 2006, Ratzersdorfer moved to Israel, where he lived with

his adult daughter.

      13.    Ratzersdorfer (by himself or in concert with his agents) established

multiple bank, securities or other financial accounts in Switzerland, frequently in

the name of his alter egos or nominees, including accounts at UBS AG, Bank

Sarasin, Pictet, and Maerki Bauman.

      14.    Ratzersdorfer (by himself or in concert with his agents) titled

ownership of multiple bank accounts in the name of corporate or similar entities

for purpose of evading detection by, and reporting obligations to, the United States.

      15.    Wintrust, AG served as one of Ratzersdorfer’s foreign money

managers that assisted him in structuring his bank accounts to avoid detection by

the United States.

      16.    Notwithstanding his ownership and control over foreign financial

accounts containing more than $10,000, Ratzersdorfer did not timely file FBARs

or otherwise disclose his foreign financial accounts to the IRS during the 2007,

2008, or 2009 calendar years.

      17.    Ratzersdorfer filed federal income tax returns (IRS Forms 1040)

Schedule B for 2007, 2008, and 2009 tax years. On each return, the Schedule B


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asked “At any time during 2007 [or 2008, or 2009] did you have a financial

interest or signature or other authority over a financial account in a foreign

country, such as a bank account, securities account, or other financial account?” In

each case, the response to this question on Ratzersdorfer’s schedule B was “No.”

      18.      Given his resources and his financial sophistication, Ratzersdorfer

knew or clearly ought to have known that there was a grave risk that he was not

complying with his reporting obligations, and he could have found out for certain

very easily.

                                    UBS Account

      19.      On information and belief, in 2001 Ratzersdorfer (by himself or in

concert with others acting on his behalf) caused an investment account to be

opened with UBS Bank in Switzerland in the name of “Thinktools Corporation.”

      20.      Thinktools was a British Virgin Islands (“BVI”) entity.

      21.      Thinktools’ director was a second BVI trust company.

      22.      Traci Cesari, an employee of Wintrust AG of Switzerland, established

Thinktools’ corporate structure.

      23.      On information and belief, the majority of funds wired into the UBS

Thinktools investment account were wired by Wintrust.

      24.      Ratzersdorfer was the beneficial owner of the Thinktools investment

account.


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      25.    Thinktools’ purpose was to be a fictitious corporation to hold foreign

assets for Ratzersdorfer and his family.

      26.    On information and belief, Ratzersdorfer instructed UBS not to invest

in U.S. securities in order to avoid detection of his foreign accounts by the United

States.

      27.    The Thinktools Investment account was established with multiple sub-

accounts.

      28.    Ratzersdorfer was the beneficial owner of four Thinktools investment

subaccounts labeled as Fund A, and two of his sons (Charles and Naftali) were the

beneficial owners of subaccounts labeled as Funds B, C, and E.

      29.    In 2009, UBS AG notified account holders that it might provide their

account information to the IRS.

      30.    The Thinktools UBS investment account was closed in March of

2009. Thereafter, funds in excess of $10,000 from the Fund A subaccounts were

wired to Bank Vontobel in Switzerland and were not repatriated to the United

States.

                 Ratzersdorfer’s Accounts at Other Swiss Banks

      31.    On information and belief, Ratzersdorfer (by himself or in concert

with others acting on his behalf) caused an account to be opened with Bank Sarasin

in Switzerland. The account with Bank Sarasin was in the name of Dynamount


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        Holdings. Ratzersdorfer controlled Dynamount holdings, which primarily served to

        shield Ratzersdorfer’s assets from detection by the United States.

              32.       On information and belief, Ratzersdorfer (by himself or in concert

        with others acting on his behalf) caused an account to be opened with Maerki

        Baumann in Switzerland. The account with Maerki Baumann was also in the name

        of Dynamount Holdings. Ratzersdorfer controlled Dynamount holdings, which

        primarily served to shield Ratzersdorfer’s assets from detection by the United

        States.

              33.       On information and belief, Ratzersdorfer (by himself or in concert

        with others acting on his behalf) caused two accounts to be opened with Pictet, a

        bank in Switzerland. The accounts with Pictet were in the name of Whitlow

        Holdings Corp. and Zanoria Worldwide, Ltd.. Ratzersdorfer possessed ultimate

        control over Whitlow Holdings Corp. and Zanoria Worldwide, Ltd., which

        primarily served to shield Ratzersdorfer’s assets from detection by the United

        States.

              34.       The following table summarizes the balances in Ratzersdorfer’s

        aforementioned accounts at various dates:

 Bank       Record           Account        2007        June 30,    2008      June 30,    2009             June 30,
            Owner               #           High         2007       High        2008      High               2010
                                           Balance      Balance    Balance    Balance    Balance           Balance
                         233-653340.60T-                                         $0                               $0
UBS        Thinktools                      $1,092,749    $10,473   $884,099              $717,611
                         FUND A
                                                                                           Not                    $0
UBS        Thinktools    233-653340.01D-     $287           $192    $230         $0
                                                                                         available


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                           FUND A
                           233-653340.66E-                                                         Not                    $0
UBS          Thinktools                      $147,952         $410     $215,269        $0
                                                                                                 available
                           FUND A
                           233-653340.66E-                                                         Not                    $0
UBS          Thinktools                       $1,141          $20         $49          $0
                                                                                                 available
                           FUND A
                           CH07 0875 0060
Bank         Dynamount                                                                 $0          Not                    $0
                           0275 7400 0-      $2,692,433   $3,585,519   $3,585,519
                                                                                                 available
Sarasin      Holdings
                           FUND A
             Whitlow       V-696196.00.02-                                            Not          Not                    $0
Pictet                                       $160,213          $0      $2,837,698
                                                                                    Available    available
             Holdings      FUND A
             Zanoria       V-696196.00.1C-                                            Not          Not                    $0
Pictet                                       $2,759,819       $280      $60,267
                                                                                    Available    available
             Worldwide     FUND A
Maerki       Dynamount     324833-051333/      Not
                                                               $0      $3,279,146   $3,334,435   3,347,977                $0
Bauman       Holdings      51-FUND A         available


                                 JUDGMENT FOR CIVIL PENALTIES
                                      (31 U.S.C. § 5321(a)(5))

                35.       The United States incorporates paragraphs 1 through 34 as if fully set

          forth herein.

                36.       On May 21, 2018, a delegate of the Secretary of the Treasury sent a

          notice of a proposed assessments for the willful failure to file complete and

          accurate FBARs for 2007, 2008, and 2009 (IRS Letter 3709).

                37.       On May 24, 2018, a delegate of the Secretary of the Treasury assessed

          civil penalties against Defendant Ratzersdorfer under 31 U.S.C. § 5321(a)(5) for

          his willful failure to timely file FBARs in connection with the accounts listed in

          Paragraph 34. Ratzersdorfer was assessed $1,733,208 for 2007; $1,667,264 for

          2008; and $100,000 for 2009.

                38.       A delegate of the Secretary of the Treasury sent notice of the May 24,

          2018 assessments to Ratzersdorfer and demanded payment of the assessments.



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       39.    Despite notice and demand for payment, Ratzersdorfer (or his estate,

if one exists) have failed to fully pay the penalties assessed against him.

       40.    Interest and penalties have accrued and will continue to accrue on the

penalties described in paragraph 37 above pursuant to 31 U.S.C. § 3717 until they

are paid in full.

       41.    As of May 19, 2020, Ratzersdorfer’s estate is indebted to the United

States with respect to the penalties described in paragraph 37 above in the amount

of $3,987,862.78, plus statutory interest and penalties that continues to accrue

thereafter as provided by law.

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      WHEREFORE, the United States prays that this Court:

      A.       Render a judgment in favor of the United States and against the estate

of Defendant Marc L. Ratzersdorfer in the amount in the amount of $3,987,862.78

for the penalties assessed against him under 31 U.S.C. § 5321(a)(5) for the 2007,

2008, and 2009 calendar years, plus further interest and statutory additions thereon

as allowed by law from May 19, 2020 to the date of payment;

      B.       Award to the United States its costs of prosecuting this action; and

      C.       Grant such other and further relief as the Court deems just and

equitable.

Date: May 22, 2020

                                         RICHARD E. ZUCKERMAN
                                         Principal Deputy Assistant Attorney General

                                         /s/ Ari Kunofsky
                                         RICHARD J. HAGERMAN (LEAD)
                                         ARI D. KUNOFSKY
                                         Trial Attorneys, Tax Division
                                         U.S. Department of Justice
                                         Post Office Box 227
                                         Washington, D.C. 20044
                                         Tel.: (202) 598-7827
                                         Fax: (202) 514-6866
                                         Richard.J.Hagerman@usdoj.gov




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